Filed 8/23/24 Doe v. Indus Investments CA2/4
            NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS

California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
publication or ordered published, except as specified by rule 8.1115(b). This opinion has not been certified for publication
or ordered published for purposes of rule 8.1115.


         IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                                  SECOND APPELLATE DISTRICT

                                                DIVISION FOUR


 JOHN DOE,                                                              B331252

           Plaintiff and Respondent,                                    (Los Angeles County
                                                                         Super. Ct. No. 23STCV04190)
           v.

 INDUS INVESTMENTS, INC. et al.,

           Defendants and Appellants.


         APPEAL from an order of the Superior Court of Los Angeles County,
Anne Richardson, Judge. Affirmed.
         Timothy D. McGonigle; Greenberg Traurig and Scott D. Bertzyk for
Defendants and Appellants.
         Shirazi Law Firm and Emanuel S. Shirazi for Plaintiff and Respondent.
      Plaintiff John Doe was employed by defendants Indus Investments, Inc.
(Indus), Tehmina Adaya (Adaya), and Royal Lush, LLC (Rush). Indus and
Adaya initiated arbitration against plaintiff for alleged tortious conduct. In
turn, plaintiff filed a lawsuit against all defendants, asserting sexual
harassment, retaliation, and wage and hour claims. The trial court
subsequently denied defendants’ petition to compel arbitration of plaintiff’s
claims, in part, because the Ending Forced Arbitration of Sexual Assault and
Sexual Harassment Act of 2021 (9 U.S.C. § 401 et seq.; the Act) prohibits
arbitration of plaintiff’s sexual harassment claims. Defendants challenge
this ruling on appeal. We affirm.


            FACTUAL AND PROCEDURAL BACKGROUND
      In March 2017, plaintiff began working for defendants. In February
2018, plaintiff signed an arbitration agreement that covered all employment-
related disputes. Plaintiff was terminated on June 3, 2022.
      On June 27, 2022, Indus and Adaya filed a demand for arbitration with
JAMS pursuant to the arbitration agreement. Defendants asserted five
claims against plaintiff: breach of written agreement; invasion of privacy;
civil remedies for violation of the Comprehensive Computer Data Access and
Fraud Act; civil remedies for violation of the Computer Fraud and Abuse Act;
and intentional infliction of emotional distress. Plaintiff participated in the
arbitration by filing an answer. In his answer, plaintiff generally denied all
the allegations, asserted multiple affirmative defenses and alleged
defendants initiated the arbitration “in retaliation for [his] sexual
harassment, retaliation/wrongful termination, and wage and hour claims
made.” Plaintiff further alleged the “sexual harassment claims are not
subject to Arbitration pursuant to federal law” and he would be filing a


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complaint asserting such claims in the trial court. Plaintiff participated in
the process of selecting an arbitrator.
      On February 27, 2023, plaintiff filed a complaint against all
defendants, which, as relevant here, included claims of sexual harassment.1
The complaint alleged plaintiff was hired by defendants in March 2017 as a
personal assistant working directly for Adaya. During his employment,
Adaya “would give unwanted sexual attention” to plaintiff. “After 2019, the
sexual harassment worsened” and Adaya “would engage in inappropriate
sexual conduct towards [p]laintiff.” Also, on or around June 2, 2020, Adaya
inappropriately asked plaintiff to help her find an escort service. On July 11,
2022, plaintiff filed a complaint against defendants with the Department of
Fair Employment and Housing, now the Civil Rights Department
(Department), and requested an immediate right-to-sue letter. That same
day, the Department issued plaintiff a right-to-sue letter and closed the case.
      On April 6, 2023, defendants filed a petition to compel arbitration and
stay the proceedings.2 Defendants contended the arbitration agreement
previously signed by plaintiff covered the claims asserted in the complaint.
Defendants noted plaintiff’s position that, despite the agreement to arbitrate,
he could not be compelled to arbitrate his sexual harassment claims under

1      Plaintiff asserted 18 causes of action against defendants: (1) sexual
harassment; (2) assault; (3) failure to prevent harassment; (4) gender
violence; (5) retaliation; (6) negligent hiring, supervision, and retention;
(7) wrongful termination in violation of public policy; (8) intentional infliction
of emotional distress; (9) failure to pay minimum wages; (10) failure to pay
overtime wages; (11) failure to provide meal periods; (12) failure to provide
rest periods; (13) failure to make payment within the required time;
(14) failure to provide accurate itemized wage statements; (15) unfair
competition; (16) failure to provide personnel records; (17) failure to provide
itemized payroll records; and (18) failure to indemnify.
2     Defendant sought other relief not relevant to this appeal.
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the Act, which took effect on March 3, 2022. Defendants argued the Act was
not retroactive and that plaintiff’s complaint “is dominantly, if not
exclusively, focused on claims that would have accrued prior to the effective
date of the statute.” Defendants also argued plaintiff waived his right to
challenge arbitration because he voluntarily participated in the JAMS
proceedings. In addition, plaintiff interjected his sexual harassment claims
in the arbitration by raising those claims as an affirmative defense.
      Plaintiff filed an opposition, arguing that the Act applied to his sexual
harassment claims because defendants’ “pattern of unlawful behavior
continued beyond March 3, 2022.” In support, plaintiff attached his
declaration alleging that the “sexual harassment continued through May
2022.” Plaintiff recalled one specific incident in “May 2022 where Defendant
Adaya grabbed [his] genitalia.”
      In reply, defendants acknowledged plaintiff’s new “allegations of sexual
assault” occurred after the effective date of the Act. However, defendants
argued the majority of plaintiff’s claims were subject to arbitration as they
allegedly occurred prior to the effective date. Defendants attached a
complaint plaintiff made to Human Resources personnel on May 27, 2022,
asserting multiple incidents of sexual harassment. The alleged incidents
described by plaintiff occurred from 2019 through May 2022.3 Defendants
then requested that “the post March 3, 2022 claims should be stayed pending
arbitration of [prior] claims.” Alternatively, defendants argued plaintiff
“voluntarily, actively, and repeatedly” participated in the arbitration process
and therefore waived any right to now object to it.




3     We note that defendants do not accurately describe this report in their
reply brief in the trial court and in their briefing on appeal.
                                        4
      On July 18, 2023, the trial court issued an order partially granting the
petition to compel arbitration as to the causes of action that bore no
relationship to plaintiff’s sexual harassment claims. However, the court
denied the petition as to the sexual harassment claims. The court reasoned
that the Act applies to those claims as they accrue as of the date of the last
violation. Although the complaint did not include allegations occurring after
the Act’s effective date (March 3, 2022), the court accepted the unpled
allegation by plaintiff of the additional claimed act that occurred in May
2022. The court rejected defendants’ “proposal to split the causes of action
and order those actions that occurred before the [Act] was passed to be
adjudicated in arbitration, and order those that came after to be litigated in
court.”
      Defendants timely appealed.4


                                 DISCUSSION
      On appeal, defendants contend the Act is inapplicable to plaintiff’s
sexual harassment claims. Even if the Act applies, defendants alternatively
argue plaintiff waived his right to challenge the arbitration of these claims
based on his voluntary participation in the JAMS proceedings. We review
the trial court’s denial of the petition to compel arbitration under a de novo
standard. (Kader v. Southern California Medical Center, Inc. (2024) 99
Cal.App.5th 214, 221 (Kader).)
      The Act voids predispute arbitration clauses in cases involving
allegations of sexual assault and sexual harassment “‘at the election of the



4     We grant defendants’ supplemental request for judicial notice of
plaintiff’s submission of the operative complaint in the arbitration
proceedings.
                                        5
person alleging [such] conduct.’” (See Murrey v. Superior Court (2023) 87
Cal.App.5th 1223, 1234.) The Act applies “to any dispute or claim that arises
or accrues on or after [its] date of enactment.” (Pub.L. No. 117-90, § 3 (Mar.
3, 2022) 136 Stat. 28, reprinted in notes foll. 9 U.S.C. § 401; see Kader, supra,
99 Cal.App.5th at p. 224.) The Act was signed into law on March 3, 2022.
(Kader, supra, at pp. 222, 224.)
      First, defendants contend the trial court erred in applying the Act to
plaintiff’s sexual harassment claims by relying on his declaration attesting to
an additional act occurring May 2022, after the Act’s effective date.
Defendants argue the court was only permitted to look to the allegations in
the complaint, which did not allege an act of sexual harassment took place
after March 3, 2022. This challenge to plaintiff’s declaration was not argued
before the trial court at any point. Defendants did not challenge the
propriety of the new allegation (i.e., the May 2022 act) in plaintiff’s
declaration but asserted “the majority of [the] harassment claims allege
conduct that took place before [March 3, 2022].” Defendants repeatedly
requested the trial court sever and stay any alleged act post-March 3, 2022,
pending arbitration of the prior acts. At oral argument, defendants
contended they did not have time to brief the issue of plaintiff’s new
allegation of sexual harassment contained in his declaration. We disagree.
Defendants had the opportunity but failed to raise this issue in their reply
brief. Therefore, we conclude defendants forfeited the argument raised here
by failing to raise it below. (In re Marriage of Eben–King &amp; King (2000) 80
Cal.App.4th 92, 117 [a party who fails to raise an issue in the trial court
forfeits the right to do so on appeal].)
      Alternatively, defendants contend plaintiff waived any objection to
arbitration of the sexual harassment claims by voluntarily participating in


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the JAMS proceedings. We disagree. Defendants rely on Kemper v. Schardt
(1983) 143 Cal.App.3d 557, which is distinguishable. In that case, a party
challenged the arbitrator’s jurisdiction in a post-arbitration proceeding to
confirm the award. (Id. at p. 560.) This party had appeared at the
arbitration proceeding, called witnesses, and testified on his own behalf. The
submission of his entire case to the arbitrator was held to preclude a post-
arbitration challenge to the arbitrator’s jurisdiction. (Id. at pp. 560–561.)
      That is not the case here. The record before us establishes that the
arbitration was initiated based on allegations of plaintiff’s, not defendants’,
tortious conduct. While plaintiff participated in the arbitration of defendants’
claims, he at no time agreed to submit his sexual harassment claims against
defendants to arbitration. None of plaintiff’s sexual harassment claims were
adjudicated by an arbitrator. Rather, plaintiff asserted in his answer in the
arbitration that he intended to bring his sexual harassment claims in the
trial court as they were not subject to arbitration under federal law. Thus,
plaintiff’s first appearance in the arbitration was a clear statement that his
sexual harassment claims were exempt from arbitration. (See Keller
Construction Co. v. Kashani (1990) 220 Cal.App.3d 222, 225, fn. 2 [the party’s
“limited participation in the arbitration did not constitute a waiver of his
right to later contest the arbitrator’s jurisdiction over him”].) He then filed a
complaint in the trial court asserting these claims and others. At the time of
filing the complaint, it does not appear the parties had agreed on an
arbitrator to adjudicate defendants’ claims. Moreover, plaintiff again
objected to arbitrating his sexual harassment claims in his opposition to
defendants’ petition to compel arbitration. Therefore, we conclude plaintiff
did not waive any objection to arbitration of his sexual harassment claims
against defendants.


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                         DISPOSITION
The order is affirmed. Plaintiff is awarded his costs on appeal.
NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS




                                     ZUKIN, J.

WE CONCUR:



COLLINS, Acting P. J.



MORI, J.




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